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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ILLINOIS EASTERN
                                   DIVISION

 IN RE: ABBOTT LABORATORIES, ET                          MDL No. 3026
 AL., PRETERM INFANT NUTRITION
                                                         Master Docket No. 22 C 71
 PRODUCTS LIABILITY LITIGATION
                                                         CASE MANAGEMENT ORDER NO. 6
 This Document Relates to:
                                                         AGREED JOINT COORDINATION
 ALL ACTIONS                                             ORDER

                                                         Judge Rebecca R. Pallmeyer




                          AGREED JOINT COORDINATION ORDER

       1.      This proceeding captioned In re Abbott Laboratories et al., Preterm Infant

Nutrition Products Liability Litigation, MDL No. 3026 (the “MDL Proceeding”) is pending before

the undersigned Hon. Rebecca R. Pallmeyer in the United States District Court for the Northern

District of Illinois. Actions involving the same subject matter as this MDL are pending in a number

of state courts (the “Related Actions”). Because the MDL and the Related Actions involve similar

allegations and many of the same parties, discovery in the various proceedings will substantially

overlap.

       2.      To achieve the full benefits of this MDL Proceeding and the various state court

proceedings for all parties, the Court has and will continue to encourage cooperative efforts to

coordinate with courts presiding over the Related Actions. This Court recognizes that state courts

are independent jurisdictions, and no party waives any jurisdictional rights or obligations, nor state

court or other statutory deadlines, or remedies with regard to case management, discovery, trial

setting, pre-trial dates, trial, or case resolution by agreeing to coordinate with the MDL.



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Nevertheless, this Court also recognizes that there are important benefits to such coordination for

all parties, including for all jurisdictions presiding over these matters.

         3.     To facilitate coordination between the MDL Proceeding and the Related Actions,

each court that enters this Joint Coordination Order is doing so to further the just and efficient

disposition of each proceeding. Any Related Action in which this Coordination Order has been

entered by the court in which the action is pending is referred to herein as a “Coordinated Action.”

Each court entering this Coordination Order (each a “Coordinating Court”) is mindful of the

jurisdiction of each of the other courts in which Coordinated Actions are pending and does not

wish to interfere with the jurisdiction or discretion of those courts.

         4.     Therefore, the parties jointly stipulate that they will work together to coordinate

discovery when possible, in order to avoid duplication of effort and to promote the efficient and

speedy resolution of the MDL Proceeding and the Coordinated Actions and, to that end, the

following procedures for discovery and pretrial proceedings shall be adopted:

I.       Definitions

         5.     Coordinated Action: Any Related Action in which the court has entered this

Coordination Order, is referred to herein as a “Coordinated Action” or, collectively, as the

“Coordinated Actions.”

         6.     Coordinated Action Liaison Counsel: Plaintiffs’ counsel from the Coordinated

Action designated by the Coordinating Court to work with MDL Plaintiffs’ Liaison Counsel and

Defendants’ Liaison Counsel to facilitate coordination of discovery in the Coordinated Action.

         7.     Coordinating Court: Any court presiding over a Related Action that has entered this

Coordination Order.




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       8.      MDL Discovery & Protective Orders: the MDL Protective Order, ESI Order,

Deposition Protocol Order, and any subsequent Case Management Order entered in the MDL

Proceeding governing the conduct of discovery.

       9.      MDL Court: this Court.

       10.     MDL Proceeding: this pending MDL proceeding, In re: Abbott Laboratories, et al.,

Preterm Infant Nutrition Product Liab. Litig., MDL No. 3026, including all cases that have been

or will be originally filed in, transferred to, or removed to this Court and assigned thereto.

       11.     Plaintiffs’ Liaison Counsel: Elizabeth Kaveny

       12.     MDL Plaintiffs’ Counsel: Lead Counsel appointed by the Court to oversee the

prosecution of the MDL Proceedings.

       13.     Related Action: Actions involving the same subject matter as MDL 3026 that are

pending in state courts.

       14.     Related Action Discovery & Protective Orders: protective orders, ESI orders,

deposition protocol orders, and/or any other order governing the conduct of discovery entered in

Related Actions.

II.    Implementing This Coordination Order

       15.     Any court before which any Related Action is pending may join this Coordination

Order thereby authorizing the parties to that action to participate in coordinated discovery as and

to the extent authorized by this Order, in accordance with the terms of the MDL Protective Order,

ESI Order, Deposition Protocol Order, and any subsequent Case Management Order entered in the

MDL Proceeding governing the conduct of discovery (collectively, the “Discovery & Protective

Orders”). Each court that adopts this Order shall also enter Related Action Discovery & Protective

Orders (including but not limited to protective orders, ESI orders, and deposition protocol orders),


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    which shall govern the use and dissemination of all documents and information produced in

    coordinated discovery conducted in accordance with the terms of this Order. 1 Discovery in the

    MDL Proceedings will be conducted in accordance with federal law, including the Federal Rules

    of Civil Procedure and the Local Rules and Orders of this Court. Discovery in the Coordinated

    Actions shall be governed by the laws of the states in which such Actions are pending. Discovery

    disputes shall be resolved as set forth below. Parties to the MDL Proceeding and their counsel

    may also participate in discovery in any Coordinated Action as set forth in this Order.

    III.   Limitation on Duplicative Discovery

           16.     The parties in a Coordinated Action may not take discovery that is duplicative of

    discovery taken in the MDL Proceeding absent permission from the court in which the Coordinated

    Action is pending. Such leave shall be obtained in the Court in which the Coordinated Action is

    pending (with notice of such proceedings provided to this Court). Notwithstanding the above,

    nothing in this Order shall: (1) supersede any rules related to deposition practice that are unique to

    an individual state proceeding; or (2) preclude MDL Plaintiffs’ Counsel from designating time

    during any Deposition to any Coordinated Action lawyer. For the avoidance of doubt, the parties

    need not obtain leave of court to conduct non-duplicative discovery relating solely to case-specific

    issues, such as discovery that is unique to individual plaintiffs in a Coordinated Action.

    IV.    Use of Discovery Obtained in the MDL Proceeding

           17.     Counsel representing a party in a Coordinated Action will be entitled to receive all

    generally applicable (i.e., non-plaintiff specific) fact discovery taken of parties or third parties in



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        This Order recognizes that individual Related Actions will have their own protective and
other discovery orders in place, and that those orders will define the appropriate use of discovery
materials in the Related Actions, regardless of whether such materials are received pursuant to
this Order or through other means.

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 the MDL Proceeding, provided that such discovery shall be used or disseminated only in

accordance with the Discovery & Protective Orders entered by the Court in which the Coordinated

Action is pending. All issues regarding the admissibility of the discovery taken of parties or third

parties in the MDL Proceeding are reserved to be addressed by the court presiding over the

Coordinated Action at the time of trial.

         18.    Counsel representing a party in the MDL Proceeding shall be entitled to receive all

 generally applicable (i.e., non-plaintiff specific) fact discovery taken of parties and third parties in

 any Coordinated Action, provided that such discovery shall be used or disseminated only in

 accordance with the terms of the MDL Discovery & Protective Orders. All issues regarding the

 admissibility in the MDL Proceeding of the discovery taken of parties or third parties in the

 Coordinated Actions are reserved to be addressed by the MDL Court, or the court to which the

 case is remanded.

         19.    Requests for documents, interrogatories, depositions on written questions, and

 requests for admission propounded in the MDL Proceeding and Coordinated Actions will be

 deemed to have been propounded and served in the MDL Proceeding and Coordinated Actions as

 if they had been propounded under the applicable civil discovery rules of the respective

 jurisdictions. All parties reserve the right to seek good faith numerical limits on discovery through

 agreement or order of the Court upon a showing of good cause. The MDL Proceeding’s written

 discovery requests will be governed by federal law, including the Federal Rules of Civil Procedure

 and the applicable Local Rules and Orders of the MDL Court, including the MDL Discovery &

 Protective Orders. For the avoidance of doubt, the Coordinated Actions’ written discovery requests

 shall be governed by the laws of the states in which such actions are pending including, but not

 limited to, numerical limits on the number of interrogatories, document requests, and request for

 admissions.

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       20.     Any counsel representing a party in a Coordinated Action shall, in accordance with

the MDL Discovery & Protective Orders, have access to any document repository or document

website that may be established by the parties to the MDL Proceeding.

       21.     Depositions taken in the MDL Proceeding may be used in the Coordinated Actions,

subject to and in accordance with the terms of the MDL Discovery & Protective Orders as well as

those applicable in any courts in which the Coordinated Actions are pending, as if they had been

taken under the applicable discovery rules of the Coordinated Action’s jurisdiction. Similarly, any

deposition taken in a Coordinated Action will be deemed available for use in the MDL Proceeding,

subject to and in accordance with the terms of the MDL Discovery & Protective Orders. All issues

regarding the admissibility of the depositions taken of parties or third parties in the MDL

Proceeding are reserved to be addressed by the court presiding over the Coordinated Action at the

time of motion practice or trial.

V.     Coordination Among Counsel

       22.     Any court presiding over a Coordinated Action and wishing to grant the parties

before it access to coordinated discovery may do so by joining this Order and designating one

plaintiffs’ counsel from the Coordinated Action (“Coordinated Action Liaison Counsel”) to work

with MDL Plaintiffs’ Lead and/or Liaison Counsel and Defendants’ Liaison Counsel to facilitate

coordination of discovery in the Coordinated Action and discovery in the MDL Proceeding.

       23.     Defendants’ Liaison Counsel shall promptly serve upon Coordinated Action

Liaison Counsel all discovery requests (including requests for documents, interrogatories,

depositions on written questions, requests for admission, and subpoenas duces tecum), responses

and objections to discovery requests, deposition notices, correspondence or other papers modifying

discovery requests or schedules, and discovery motions, or requests for hearing on discovery

disputes regarding coordinated discovery matters that are served upon the parties in the MDL
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Proceeding. Service may be made by electronic means. Deposition notices shall be served by

email or other electronic means. Defendants’ Liaison Counsel shall also be responsible for

providing such documents from the Coordinated Actions to counsel in the MDL Proceeding and

other Coordinated Actions.

VI.    Participation in Depositions

       24.     Each deposition noticed in the MDL Proceeding, absent leave of the MDL Court,

will be conducted: (i) on at least 21 days’ written notice, and (ii) in accordance with the Federal

Rules of Civil Procedure, the Discovery & Protective Orders and any other procedures imposed

by the MDL Court. Counsel for the noticing parties in the Coordinated Actions shall coordinate

(i) amongst themselves and with the party producing the witness to schedule the depositions; and

(ii) amongst themselves as to the time necessary with the deponent and as to allocation of that time

amongst the questioning counsel at the deposition.

        25. Consistent with the objectives of this Order to streamline overlapping discovery

efforts and to avoid unnecessarily duplicative discovery, the default timing for any deposition in

the Coordinated Actions shall be limited to two days, for a total of ten hours of testimony on the

record. To the extent that the noticing parties believe that additional time with a limited number of

particular witnesses is warranted, they may (in consultation with the other noticing parties) request

such additional time in noticing the deposition, with the noticing and producing parties to meet

and confer in good faith to address such requests in the first instance. If efforts to reach agreement

on the length of time to be permitted for any particular deposition are unsuccessful, the noticing

party may request leave, from the Court in which that party’s case is pending, to take additional

deposition time with the deponent.

       26.     For depositions noticed by any plaintiff in the MDL Proceeding, at least one Lead


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Counsel for the MDL Plaintiffs, or their designee, shall confer with Coordinated Action Liaison

Counsel, or their designees, in advance of each deposition, with the purpose of limiting the number

of attorneys asking questions, with the MDL Plaintiffs and Coordinated Action Liaison Counsel

to allocate the division of time amongst themselves.

       27.     Counsel for any party in a Coordinated Action shall be permitted to cross-notice

and attend any deposition scheduled in the MDL Proceeding, subject to any limits on in-person

attendance due to logistical or facilities limitations, as addressed in the Deposition Protocol. Upon

receipt of a Notice of Taking Deposition pursuant to Federal Rule of Civil Procedure 30(b)(6) and

cross-noticed in Coordinated Actions under applicable state statutes, Counsel for Plaintiffs in a

Coordinated Action shall have 10 days to cross-notice additional, non-duplicative 30(b)(6) topics.

Counsel for any party in a Coordinated Action shall cooperate with Counsel for Defendants to

coordinate cross-noticing of depositions in a Coordinated Action and the MDL Proceeding where

practical and appropriate.

       28.     MDL Plaintiffs’ Counsel and Coordinated Action Plaintiffs’ Counsel shall make

reasonable efforts to ask questions that are non-duplicative of questions already asked by plaintiffs’

Counsel in the deposition. Participation of plaintiffs’ counsel from multiple actions shall be

arranged so as not to delay discovery or other proceedings as scheduled in the MDL Proceeding

or the Coordinated Actions. Counsel for a party in a Coordinated Action shall be permitted to

make objections during examination by other counsel in accordance with the Federal Rules of

Civil Procedure, the Local Rules of the MDL Court, the Orders of the MDL Court, including the

Discovery & Protective Orders, and any applicable state court provisions. An objection by one

plaintiff’s counsel shall be deemed to have been made on behalf of counsel for all plaintiffs, and

an objection by one defendant’s counsel shall be deemed to have been made by counsel for all

defendants. Whether or not the parties are able to reach agreement on such steps, any party seeking

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to re-depose a witness is subject to the provisions set forth herein.

       29.     Subject to the Discovery & Protective Orders, counsel representing any party in a

Coordinated Action may obtain directly from the court reporter at its own expense a transcript of

any deposition taken in the MDL Proceeding.

       30.     If any party to the MDL Proceeding or a Coordinated Action has been provided

with reasonable notice of and the opportunity to participate in a deposition taken in the MDL

Proceeding or Coordinated Action, and was provided the written discovery described in Section

IV above at least 45 days prior to the deposition (subject to the parties’ meet and confer efforts as

to particular depositions noticed and the documents bearing on such depositions), it shall not be

permitted to re-depose that deponent without obtaining an Order from the court in which that

party’s Action is pending upon a showing of good cause. The parties shall make reasonable efforts

to ensure no witness is deposed in his/her individual capacity a second time without good cause.

       31.     Any party or witness receiving a notice of deposition that it contends is not

permitted by the terms of this Coordination Order shall have 7 calendar days from receipt of the

notice within which to serve the noticing party with a written objection to the deposition, and then

7 calendar days to meet and confer with the noticing party to attempt in good faith to resolve such

objection. In the event the parties are not able to resolve such objection, the deposition shall not

go forward until the noticing party applies for and receives an order from the MDL Court or

Coordinating Court granting leave to take the deposition.

       32.     The parties and counsel shall consult in advance with opposing counsel and

proposed deponents in advance of noticing the depositions to schedule depositions at mutually

convenient times and places.

VII. Participation in Written Discovery
       33.     All parties to the MDL Proceeding or the Coordinated Actions shall be entitled to
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receive copies of generally applicable (i.e., non-plaintiff specific) responses to interrogatories,

responses to depositions on written questions, responses to requests for admission, and documents

produced in the MDL Proceeding and in any Coordinated Action, and shall use such materials only

in accordance with the terms of the Discovery & Protective Orders.

       34.     Any counsel representing a party in a Coordinated Action shall, in accordance with

the MDL Discovery & Protective Orders, have access to any document repository or document

website that may be established by the parties to the MDL Proceeding.

VIII. Discovery Dispute Resolution

       35.     Prior to any party in the MDL Proceeding or Coordinated Actions filing a discovery

motion, the parties must first attempt to resolve the dispute in good faith and in accordance with

the procedures and requirements of their respective jurisdictions. In the event the parties are not

able to resolve disputes that may arise in the coordinated pretrial discovery conducted in the MDL

Proceeding or Coordinated Actions, including disputes as to the interpretation of the applicable

Discovery & Protective Orders, such disputes will be presented to the Court in which the case in

dispute is pending. Parties engaged in discovery disputes shall place their dispute before the Court

by way of a joint statement that includes the moving party’s position, as well as the responding

party’s position. The Court may hold an informal discovery conference as appropriate to resolve

the dispute. Resolution of such disputes shall be pursuant to the applicable federal or state law,

and such resolution may be sought by any party permitted by this Coordination Order to participate

in the discovery at issue.

       36.     In the event additional discovery is sought in a Coordinated Action that is non-

duplicative of discovery conducted in the MDL Proceeding or is otherwise permitted by leave of

court for good cause shown, and the parties to that action are not able to resolve any discovery

disputes that may arise in connection with that additional discovery, such disputes will be
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presented to the court in which that Coordinated Action is pending. The moving party shall attach

to any such discovery motion a copy of any briefing or rulings (or transcripts if no ruling are

available) from the MDL Court and any state court(s) that bear on the issues in that discovery

dispute.

       37.     This procedure pertains to disputes arising during the discovery process only, and

nothing contained herein shall constitute or be deemed to constitute a waiver of any objection of

any party to the admissibility in connection with motion practice or at trial of any documents,

deposition testimony or exhibits, written discovery responses, or other evidence provided or

obtained in accordance with this Coordination Order, whether on grounds of relevance, materiality,

or any other basis, and all such objections are specifically preserved. The admissibility into

evidence of any material provided or obtained in accordance with this Coordination Order shall be

determined by the court in which such action is pending pursuant to the law and rules of evidence

governing in that court.


IT IS SO ORDERED.



Dated: August 18, 2022                     _________________________________________
                                           REBECCA R. PALLMEYER
                                           United States District Judge




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